        Case 7:18-cr-00855 Document 734 Filed on 10/23/20 in TXSD Page 1 of 3

                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   McALLEN DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   Case No. 18-CR-0855
                                                )
JORGE ZAMORA-QUEZADA,                           )
                                                )
                Defendant.                      )


                      AGREED MOTION FOR PROTECTIVE ORDER

         The United States of America, by and through undersigned counsel, hereby submits this

Agreed Motion for Protective Order, and respectfully states as follows:

         The Federal Bureau of Investigation (“FBI”) is legally mandated to identify victims of

federal crimes that it investigates. The FBI received numerous calls from individuals who believed

that they or their loved ones may have been affected by the alleged crimes of Defendant Jorge

Zamora-Quezada. The FBI maintained a spreadsheet (“Victim Spreadsheet”) documenting such

contact which was the subject of an August 29, 2019 Protective Order of this Court. (See Dkt.

412).

         FBI Victim Specialist Veronica Bernal, whom the Government intends to call as a witness

at the October 26, 2020 loss hearing in this case, took handwritten notes in connection with some

conversations with victims (“Victim Notes”) before transferring that information to the Victim

Spreadsheet. Like the Victim Spreadsheet, the Victim Notes contain confidential and highly

sensitive information.    The United States has proposed terms of a protective order and

acknowledgement governing the Government’s production of the Victim Notes mirroring the

terms of the protective order governing the Victim Spreadsheet.

         The undersigned and counsel for Defendant Jorge Zamora-Quezada conferred, and counsel

for Defendant Jorge Zamora-Quezada stated that he does not oppose the terms of the protective
     Case 7:18-cr-00855 Document 734 Filed on 10/23/20 in TXSD Page 2 of 3

order and acknowledgement.

       The proposed order and acknowledgement are submitted herewith in the form of a

proposed order.

       The United States respectfully requests that the Court enter the proposed order governing

the Government’s production of the Victim Notes.


                                            Respectfully submitted,

                                            Allan Medina
                                            Deputy Chief, Health Care Fraud Unit

                                            s/ Rebecca Yuan
                                            Adrienne Frazior
                                            Jacob Foster
                                            Assistant Chiefs, Health Care Fraud Unit
                                            Rebecca Yuan
                                            Emily Gurskis
                                            Trial Attorneys
                                            United States Department of Justice
                                            Criminal Division, Fraud Section
                                            1400 New York Avenue, N.W.
                                            Washington, D.C. 20005


                                            Ryan K. Patrick
                                            United States Attorney

                                            s/ Cynthia Villanueva
                                            Cynthia Villanueva
                                            Assistant United States Attorney
                                            U.S. Attorney’s Office, SDTX
                                            1701 W. Highway 83, #600
                                            McAllen, Texas 78501




                                               2
     Case 7:18-cr-00855 Document 734 Filed on 10/23/20 in TXSD Page 3 of 3

                            CERTIFICATE OF CONFERENCE

       I HEREBY CERTIFY that I conferred with counsel for Defendant Jorge Zamora-Quezada,

who stated that he does not oppose the terms of the protective order and acknowledgement.

                                           s/ Rebecca Yuan
                                           Rebecca Yuan
                                           Trial Attorney
                                           United States Department of Justice
                                           Criminal Division, Fraud Section
                                           1400 New York Avenue, N.W.
                                           Washington, D.C. 20005



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 23, 2020, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system and/or provided an electronic copy to Defendant’s

counsel of record.

                                           s/ Rebecca Yuan
                                           Rebecca Yuan
                                           Trial Attorney
                                           United States Department of Justice
                                           Criminal Division, Fraud Section
                                           1400 New York Avenue, N.W.
                                           Washington, D.C. 20005




                                              3
